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                                                                                      --~     ~ - -March 31, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------·· ----------- ------------------------------------------X
UNITED STATES OF AMERICA,                                                        CONSENT TO PROCEED BY
                                                                                 VIDEOCONFERENCE
                             -v-
                                                                                 _ _-CR-_ _ _ (_)(_)
                                                                                 20mjll874
                                       Defendant(s).
-----------------------------------------------------------------X


Defendant              J-e.M
                           V\...---.        ~     /~ .J~oluntarily consents to
participate in the following prJceeding via videoc~nferencing:

/ i n i t i a l Appearance/Appointment of Counsel

         Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

         Preliminary Hearing on Felony Complaint

~/Revocation/Detention Hearing

         Status and/or Scheduling Conference

         Misdemeanor Plea/Trial/Sentence




 Isl Jenny Fernandez Nataren
Defendant's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

    Jenny Fernandez Nataren
Print Defendant's Name                                                Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.



   111412020
Date                                                                  U.S. Magistrate Judge
